   Case 1:17-cr-00101-LEK Document 947 Filed 03/03/20 Page 1 of 12     PageID #: 7929

                                                                       FILED IN THE
                                                               UNITED STATES DISTRICT COURT
                                                                   DISTRICT OF HAWAII
                       UNITED STATES DISTRICT COURT
CJR.\ G\\. JI.\ L                                                    7J MAR 03 2020        V1tJ
                              DISTRICT OF HAWAII               at_o'clock and ?-7mmf       M
                                                                      SUE BEITlA, CLERK-


     UNITED STATES OF AMERICA,               CR NO. 17-00101 LEK

                      Plaintiff ,

          vs.

     ANTHONY T. WILLIAMS,

                      Defendants .

                                  VERDICT FORM

          You may read the entire verdict form before

    answering the questions.           You must answer all of the

    questions, unless otherwise indicated.                 Answer the

    questions in numerical order.             Follow all directions.

    After you have answered all required questions, the

    foreperson shall sign and date the Verdict Form, inform

    the Court that a verdict has been reached, and contact

    the bailiff.

          We, the jury, answer the questions submitted to all

    of us as follows:
Case 1:17-cr-00101-LEK Document 947 Filed 03/03/20 Page 2 of 12   PageID #: 7930




 AS TO COUNT 1 (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 1 of the Superseding Indictment, We, the jury, find the
 defendant, ANTHONY T. WILLIAMS:


              Not Guilty         ~       Guilty



 AS TO COUNT 2 (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 2 of the Superseding Indictment, We, the jury, find the
 defendant, ANTHONY T . WILLIAMS:


              Not Guilty             /   Guilty



 AS TO COUNT 3 (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 3 of the Superseding Indictment, We, the jury, find the
 defendant, ANTHONY T . WILLIAMS:


              Not Guilty         /       Guilty




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Case 1:17-cr-00101-LEK Document 947 Filed 03/03/20 Page 3 of 12   PageID #: 7931




 AS TO COUNT 4 (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 4 of the Superseding Indictment, We, the jury, find the
 defendant, ANTHONY T. WILLIAMS:


              Not Guilty         V       Guilty



 AS TO COUNT 5 (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 5 of the Superseding Indictment, We, the jury, find the
 defendant, ANTHONY T. WILLIAMS:


              Not Guilty       --
                                     (   Guilty



 AS TO COUNT 6 (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 6 of the Superseding Indictment, We, the jury, find the
 defendant, ANTHONY T. WILLIAMS:


              Not Guilty         /       Guilty




                                          3
Case 1:17-cr-00101-LEK Document 947 Filed 03/03/20 Page 4 of 12   PageID #: 7932




 AS TO COUNT 7 (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 7 of the Superseding Indictment , We, the jury, find the
 defendant, ANTHONY T. WILLIAMS:


              Not Guilty        /       Guilty



 AS TO COUNT 8 (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 8 of the Superseding Indictment, We, the jury, find the
 defendant, ANTHONY T. WILLIAMS:


              Not Guilty            /   Guilty



 AS TO COUNT 9 (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 9 of the Superseding Indictment, We, the jury, find the
 defendant, ANTHONY T. WILLIAMS :


              Not Guilty        /       Guilty




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Case 1:17-cr-00101-LEK Document 947 Filed 03/03/20 Page 5 of 12   PageID #: 7933




 AS TO COUNT 10 (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 10 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty         /    Guilty



 AS TO COUNT 11 (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 11 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty         ~Guilty

 AS TO COUNT 12 (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 12 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty       ____L_ Guilty




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Case 1:17-cr-00101-LEK Document 947 Filed 03/03/20 Page 6 of 12   PageID #: 7934




 AS TO COUNT 13 (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 13 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty        /        Guilty



 AS TO COUNT 14       (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 14 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty         /       Guilty



 AS TO COUNT 15 (Wire Fraud) :

     As to the offense of wire fraud as charged in Count
 15 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty       -~
                                     v   Guilty




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Case 1:17-cr-00101-LEK Document 947 Filed 03/03/20 Page 7 of 12   PageID #: 7935




 AS TO COUNT 16 (Mail Fraud) :

     As to the offense of mail fraud as charged in Count
 16 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty         i/ Guilty

 AS TO COUNT 17 (Mail Fraud):

     As to the offense of mail fraud as charged in Count
 17 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty       ~ Guilty

 AS TO COUNT 18 (Mail Fraud) :

     As to the offense of mail fraud as charged in Count
 18 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty       _L Guilty




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Case 1:17-cr-00101-LEK Document 947 Filed 03/03/20 Page 8 of 12   PageID #: 7936




 AS TO COUNT 19 (Mail Fraud) :

     As to the offense of mail fraud as charged in Count
 19 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty         /     Guilty



 AS TO COUNT 20       (Mail Fraud) :

     As to the offense of mail fraud as charged in Count
 20 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty       ___L_   Guilty



 AS TO COUNT 21       (Mail Fraud) :

     As to the offense of mail fraud as charged in Count
 21 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty         I     Guilty




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Case 1:17-cr-00101-LEK Document 947 Filed 03/03/20 Page 9 of 12   PageID #: 7937




 AS TO COUNT 22       (Mail Fraud) :

     As to the offense of mail fraud as charged in Count
 22 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty        /       Guilty



 AS TO COUNT 23 (Mail Fraud) :

     As to the offense of mail fraud as charged in Count
 23 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty            ~ Guilty



 AS TO COUNT 24        (Mail Fraud) :

     As to the offense of mail fraud as charged in Count
 24 of the Superseding Indictment, We, the jury, find
 the defendant, ANTHONY T. WILLIAMS:


              Not Guilty            /   Guilty




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Case 1:17-cr-00101-LEK Document 947 Filed 03/03/20 Page 10 of 12   PageID #: 7938




  AS TO COUNT 25       (Mail Fraud) :

      As to the offense of mail fraud as charged in Count
  25 of the Superseding Indictment, We, the jury, find
  the defendant, ANTHONY T. WILLIAMS:


               Not Guilty        /    Guilty



  AS TO COUNT 26 (Mail Fraud):

      As to the offense of mail fraud as charged in Count
  26 of the Superseding Indictment, We, the jury, find
  the defendant, ANTHONY T. WILLIAMS:


               Not Guilty         v   Guilty



  AS TO COUNT 27       (Mail Fraud) :

      As to the offense of mail fraud as charged in Count
  27 of the Superseding Indictment, We, the jury, find
  the defendant, ANTHONY T. WILLIAMS:


               Not Guilty         /   Guilty




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Case 1:17-cr-00101-LEK Document 947 Filed 03/03/20 Page 11 of 12   PageID #: 7939




  AS TO COUNT 28       (Mail Fraud) :

      As to the offense of mail fraud as charged in Count
  28 of the Superseding Indictment, We , the jury, find
  the defendant, ANTHONY T. WILLIAMS:


              Not Guilty       L      Guilty



  AS TO COUNT 29 (Mail Fraud) :

      As to the offense of mail fraud as charged in Count
  29 of the Superseding Indictment, We, the jury, find
  the defendant, ANTHONY T. WILLIAMS:


               Not Guilty      _L Guilty

  AS TO COUNT 30 (Mail Fraud) :

      As to the offense of mail fraud as charged in Count
  30 of the Superseding Indictment, We, the jury, find
  the defendant, ANTHONY T. WILLIAMS:


               Not Guilty      _L Guilty




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Case 1:17-cr-00101-LEK Document 947 Filed 03/03/20 Page 12 of 12   PageID #: 7940




 AS TO COUNT 31 (Mail Fraud) :

      As to the offense of mail fraud as charged in Count
  31 of the Superseding Indictme n t, We, the jur y, find
  the defendant, ANTHONY T. WILLIAMS:


              Not Guilty         /    Guilty



  AS TO COUNT 32 (Mail Fraud) :

       As to the offense of mail fraud as charged in Count
  32 of the Superseding Indictment, We, the jury, find
  t he defendant, ANTHONY T. WILLIAMS:


              Not Guilty       _L_ Gui l ty

       After completing all of your answers to the Verdict

  Form , the foreperson shall s i gn and date this form,

  inform the Court in writing that the jury has reach ed a

  verdict, and call the bailiff.


              Dated at Honolulu , Hawai 'i,          ~ 3) !l1J:i.f; .


                                     Signed: /S/ Foreperson




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